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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

BARBARA MACK, as ADMINISTRATRIX
of the ESTATE of WILLIAM A. MACK, JR.,

deceased, :
Plaintiff, : Civil Action No.: l O-cv-2142

v.
VENTRACOR, INC., and
THE TRUSTEES OF THE UNIVERSITY
OF PENNSYLVANIA, et. al.,

Defendants.

 

DEFENDANT VENTRACOR, INC.’S MEMORANDUM OF LAW IN OPPOSITION
TO PLAINTIFF’S MOTION FOR REMAND AND FOR COSTS. EXPENSES AND FEES

COMES NOW, Defendant Ventracor, Inc. (“Ventracor”), by and through its undersigned
counsel, Cozen O’Connor, and hereby opposes Plaintiff’ s Motion for Remand and for Costs,
Expenses and Attorneys’ Fees. In support, Ventracor adopts the arguments set forth in co-
defendants’ Memorandum of Law in Opposition to Plaintiff’s Motion for Remand and
additionally states as follows:

I. INTRODUCTI_ON

The Trustees of the University of Pennsylvania (the “Hospital”) and the individual
physician defendants removed this case on the basis of three claims that Mrs. Mack brings
related to an allegation of lack of informed consent; battery, fraudulent misrepresentation and
breach of fiduciary duty (collectively, “Informed Consent claims”). These Informed Consent
claims raise the question of Whether a patient’s consent to an experimental procedure is
adequately informed if the patient is not fully apprised of his or her legal rights. Although
plaintiff seeks to rely on Pennsylvania’s Medical 'Care Availability and Reduction of Error

(MCARE) Act, that Comrnonwealth law offers no guidance With respect to human test subjects

 

 

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or the elements of a valid informed consent, and does not require any mention of a patient’s legal
rights when participating in a clinical study.

Federal law is the only place to find any suggestion that a patient’s legal rights may be
implicated when obtaining informed consent. Mrs. Mack recognized this in pursuing her
previously filed (and voluntarily dismissed) action. In her earlier case, she relied exclusively
upon federal regulations, such as 45 C.F.R. §46.1 16, 21 C.F.R. §5().2() and the “Common Rule,”
in alleging that the Hospital violated federal law when obtaining Mr. Mack’s consent to the
experimental procedure

Now, in an effort solely designed to avoid the jurisdiction of this Court, Mrs. Mack
brings precisely the same allegations, but artfully eliminates any reference to the federal law
upon which she previously relied. Instead, she claims that Pennsylvania’s MCARE Act controls.
As discussed in greater detail below, MCARE has no bearing on determining the legal validity of
Mrs. Mack’s claims. lndeed, if MCARE does control the question of whether a patient is
entitled to a full recitation of legal rights as part of informed consent, then the Court could_easily
dismiss these Informed Consent claims as there is no such basis for these novel causes of action
in the statutes or common law of this Commonwealth.

No matter how it is plead, the relief plaintiff seeks in connection with her Informed
Consent claims necessarily requires this Court to interpret and apply federal regulations Once
the Court clarifies the extent to which the federal regulations require a disclosure of patient legal
rights as part of informed consent, then it must apply its interpretation of the federal law to the
facts of this case to determine if the Hospital or the individual physician defendants breached
that legally imposed duty here. `

Consequently, to answer both the general question of legal duty and the specific factual

question of Whether the Hospital breached that duty, the Court must look to federal law. Despite

 

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plaintiffs ability to cleverly plead around the applicable regulations there is a strong need for
these federal regulations to be interpreted and applied in a uniform manner. Thus, this Court
may properly decide this case within its federal question jurisdiction

II. BACKGROUND FACTS
A. The First Action against Ventracor. Inc.

The procedural history leading up to the removal of the instant matter is significant Mrs.
Mack first commenced her litigation on or about February 4, 2009 by filing a complaint in the
Philadelphia Court of Common Pleas against the Trustees of the Hospital and Ventracor, Inc. _S_ge
Barbara Mack v. Ventracor, Inc., et al., February Terrn, 2009, No. 000633 (hereinaf`ter, “First
Action”). In that First Action, Mrs. Mack alleged state law claims, including strict liability,
negligence, and breach of warranties With respect to Ventracor, the First Action contained
allegations against it as the designer, manufacturer, and seller of the VentrAssist device
‘ implanted in plaintiffs deceased husband, William A. Mack,'Jr., for strict liability, negligence,
and breach of warranty.

ln response to the complaint in the First Action, the Hospital filed Preliminary
Objections. Thereafter, Mrs. Mack filed eight additional amended complaints against the
Hospital and Ventracor in an attempt to overcome the legal defects in her original and
subsequent complaints Defendants filed Preliminary Objections in response to most of those
amended complaintsl To fully illustrate the extensive procedural history of the First Action, the

state court’s docket in Barbara Mack v. Ventracor, Inc., et al., February Term, 2009, No.

 

' 1 Ventracor filed preliminary objections beginning with the Third Amended Complaint.
Neither defendant filed preliminary objections to the Fifth Amended Complaint because Plaintiff
indicated she would be filing a Sixth Amended Complaint.

 

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000633, and the federal court docket once the matter was removed are both attached hereto as
Exhibit “A.”

On February 19, ZOlO, more than one year aiier she filed her Original Complaint in the
First Action, Mrs`Mack filed her Eighth Amended Complaint and, for the first time, asserted a
cause of action for battery against the Hospital pursuant to 45 C.F.R. §46.116, the Code of
Federal Regulations section addressing general requirements for informed consent. Mrs. Mack
alleged that the Hospital, on behalf of itself and Ventracor,- made material misrepresentations
regarding her husband’s legal rights as described in the informed consent form presented to Mr.
Mack prior to his surgery. Mrs. Mack cited violations of 45 C.F.R. §46.116 and the “Comrnon
Rule,” which apply to all “federally regulated and/or funded research performed at the University
of Pennsylvania.” (§§e Eighth Amended Complaint in First Action, attached as Exhibit “B” to
the Hospital’s Opposition to Remand).

ln support of the battery claim she brought in the First Action, Mrs. Mack argued that the
research involving Mr. Mack was not in compliance with the Hospital’s Federal Wide Assurance
(“FWA”) which was submitted to the Office of Human Research Subject Protection of the U.S.
Department of Health and Human Services. The FWA assures that research at the Hospital is
conducted in compliance with federal regulations The “Common Rule” cited by plaintiff refers
to the cumulative effort of seventeen government agencies striving to promulgate consistent
regulations for human research subjects across government2 The Rule was published in the
Federal Register, which requires each governmental agency to administer the Rule uniformly

through its regulations §§ Note to 45 C.F.R. §46.

 

2 Sub-part A of Title 45 of the Code of Federal Regulations, “Public Welfare,” Part 46,
“Protection of Human Subjects.”

 

 

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By her own admission, Count VIll of the Eighth Amended Complaint in the First Action
implicated federal law.3 Contending that federal question jurisdiction was invoked by plaintiffs
battery claim in her Eighth Amended Complaint, defendants filed a timely Notice of Removal to
federal court in the First Action on March 16, 2010. § Exhibit “A” hereto.

Faced with the reality of proceeding in federal court to litigate her Eighth Amended
Complaint, Mrs. Mack quickly filed a Voluntary Dismissal and withdrew the First Action on
March 26, 2010. Ld.

B. The Instant Action

On March 31, 2010, five days after she voluntarily dismissed and withdrew the First
Action, Mrs. Mack filed a nearly identical lawsuit in state court. The Complaint in the instant
action pleads causes of action for battery, fraudulent misrepresentation and breach of fiduciary
duty based on a lack of informed consent,

Deterrnined to stay in state court, plaintiff removed any reference to federal authority in
support of her otherwise identical battery claim in her new Complaint. Instead, she now purports
to base her Informed Consent claims on the “strictures of the Medical Care Availability and
Reduction of Error [“MCARE”] Act” of the Commonwealth of Pennsylvania. _S_e_e_ Count VIII,
Exhibit “A” to co-defendants’ Opposition to Remand.

Despite her clever drafting, the Hospital and individual physicians removed the instant
action on May 10, 2010 contending that Mrs. Mack nevertheless invoked federal jurisdiction by
way of her battery claim.4 On June 9, 2010, Plaintiff filed a Motion to Remand. On July 7,

2010, co-defendants filed their Opposition to Plaintiffs’ Motion to Remand.

 

3 Where a program is federally established and thereafter is federally implemented,

regulated, funded and controlled, the application or interpretation of the regulations invoke
federal jurisdiction pursuant to §1331.

4 Ventracor, Inc. was not a party to the action at that time. Attorneys for Ventracor, Inc.
accepted service on its behalf on June 28, 2010.

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Ventracor has been advised that this case is in civil suspension pending the outcome of
plaintiffs pending remand motion. Therefore, believing the remand issue more time sensitive,
Ventracor is filing this Brief in Opposition to Remand before filing a responsive pleading, which
it intends to do in the near fiiture. To avoid duplicative arguments and to conserve this Court’s
time and resources, Ventracor adopts and incorporates by reference the Opposition brief filed by
the Hospital and individual physician defendants The following argument is intended to
supplement co-defendants’ opposition, as additional support in opposition to Plaintiff s Motion
to Remand.

III. LEGAL ARGUMENT

A. Plaintiff Seeks to Avoid Federal Jurisdiction by Omitting References to
Cont_rolling Federal Authoritv

lt is obvious that Mrs. Mack wants to litigate this dispute in state court, which is her
prerogative as master of her own complaint However, she cannot ignore the fact that her battery
claim against the Hospital can reside only under federal law no matter how she attempts to
reframe it, and the Court’s analysis necessarily requires interpretation and application of federal
regulations -

In Count VIII of the Complaint, Mrs. Mack specifically takes issue with the following
language in the informed consent form signed by her husband:

Nothing in this informed consent shall act to waive any of your
legal rights or to release the University of Pennsylvania Health
System and School of Medicine, the study sponsor, Ventracor,
Inc., or any of their agents from liability for negligence

_S_ee Informed Consent Form at Exhibit “B” to Plaintiff’ s Complaint, attached to co-defendant’s
Opposition to Remand at Exhibit “A.” Mrs. Mack’s battery and other Informed Consent claims

rest on the novel theory that the Hospital and Ventracor rendered the “no waiver” language in the

 

 

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informed consent form a nullity by raising legal defenses in the First Action, such as preemption,
by way of affirmative defenses and preliminary objections The law Mrs. Mack seeks to enforce
- prohibitions on exculpatory language - is only found in the FDA’s guidelines as set forth in the
Code of Federal Regulations, as follows:

No informed consent, whether oral or written may include any
exculpatory language through which the subject or the
representative is made to waive or appear to waive any of the
subject’s legal rights, or releases the investigator, the sponsor, the
institution, or its agents from liability for negligence

_S_e§ 21 C.F.R. §50.20. Insofar as the only legal basis for Mrs. Mack’s Informed Consent claims
is under federal regulations, these claims directly implicate federal question jurisdiction

The Hospital presented the informed consent form to Mr. Mack in connection with his
participation in a clinical trial involving the implantation of an experimental heart pump. That
factual scenario fully distinguishes the Informed Consent claims at issue here from the
“standar ” informed consent dispute often litigated in state court. The consent form is an
integral part of any FDA regulated research study. Where a human subject is involved in a
clinical trial of an experimental drug or device, federal regulations d_irM address all aspects of
informed consent, The C.F.R. provides the framework for informed consent for human subjects
participating in clinical trials such as Mr. Mack. In addition to section 21 C.F.R. §50.20, other
sections of the C...FR highlight the federal government’s involvement, and interest, in regulating
issues surrounding informed consent where human subjects are involved. Specifrcally, section
21 C.F.R. §50.25 provides detailed, multi-part regulations (the “eight basic elements”) which
describe the information that must be communicated to each subject participating in a clinical
trial.

In an effort to avoid the clear federal implications of her claims, Mrs. Mack cast about for
some state law that might support her Informed Consent claims and settled on the MCARE Act.

Mrs. Mack’s reliance on the MCARE statute is misplaced MCARE does not apply to the

 

 

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specifics of her Informed Consent claims here, which attack the content of the consent form
presented to her husband. The law that applies to the content of the informed consent form, and
in particular to a patient’s legal rights, is found in federal regulations -the very same regulations
that plaintiff plead the first time she brought a battery claim in her earlier Eighth Amended
Complaint.

The absence of a direct citation to federal law on the face of her Complaint is not
determinative Just as Mrs. Mack relied so heavily upon federal regulations to support her
battery claim in her Eighth Amended Complaint, so now do her Informed Consent claims
implicate those same regulations even though she omitted them from her Complaint. The
regulations haven’t changed and plaintiff cannot alter the character of her battery claim by
omitting the references to the Code of Federal Regulation (promulgated by the Food and Drug
Administration and the Department of Health and Human Services) and other sources of federal
authority in What is essentially her ninth amended complaint. Guckz`n v. Deborah Nagle, et. al.,
259 F.Supp. 2d 406, 410 (E.D. Pa. 2003).

Further, it is well known that the FDA regulates all aspects of the clinical trial. 21 C.F.R.
§812.ll9. Indeed, the FDA closely reviews, approves, declines, supervises, monitors, corrects
and enforces all aspects of the clinical trial process, beginning long before human subjects
become involved or are asked to sign any consent forms There is not a detail, including the
informed consent form, that isn’t regulated by the federal government when human subjects are
involved in clinical trials

It is simply illogical for Mrs. Mack to now argue that this o_rg component of the clinical
trial, the language of the informed consent forrn, is the M element of the entire process that is
not regulated by the federal government, particularly when she made allegations in her Eighth

Amended Complaint that informed consent was governed by federal regulations lnstead, she

 

 

 

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now contends that her Informed Consent claims are controlled by some inapplicable provision in

the MCARE Act, which does not address patient legal rights

 

 

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B. No Private Right of Action is_Required for this Court to Exercise its Federal
Jurisr_i_ic___t_ion

In support of Remand, Plaintiff argues that none of the federal regulations cited by the
removing defendants invoke federal jurisdiction because none create a private right of action or
remedy. As discussed in greater detail in co-defendants’ memorandum of law in Opposition to
Remand, it is clear that the opposite is true -- no private right of action is required for this Court
to exercise its federal jurisdiction Plaintiff simply ignores the controlling law on this point,
Grable & Sons Metal Products, Inc. v. Darue Engr’g &~Mf’g, 545 U.S. 308 (2005), Mg
Merrell Dow Pharmaceuticals, Inc. v. Thompson, 478 U.S. 804 (1986), and instead cites
inapplicable cases which pre-date Grable.

As discussed in co-defendants' Opposition brief, the “Common Rule” cited by Plaintiff in
support of her battery claim in her Eighth Amended Complaint evolved from an interest in
uniform application and regulation of human research across government agencies E 45
C.F.R. §46. This interest in uniformity is sufficient to warrant application of federal common
law. Boyle v. Unitea’ Technologies Corp., 487 U.S. 500, 508 (1988)(where the federal interest
requires a uniform rule, the entire body of state law applicable to the area conflicts and is
replaced by federal rules); Unitea' Szfates v. Kimbell Foods, 440 U.S. 715, 728 (l979)(federal
programs that by their nature are and must be uniform throughout the nation necessitate
formulation of federal rules); Clea)y€eld Trust Co. v. United States, 318 U.S. 363
(l943)(applying federal common law because the “desirability of a uniform [federal] rule is
plain”).

More recently, the Second Circuit fully analyzed informed consent in the context of
human research in Abdullahi v. Pfl`zer, Inc., 562 F.3d l63 (2nd Cir. 2009). Abdullahi makes clear

that the matter of informed consent in human research is of such universal concern that it

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surpasses domestic law and becomes a matter of customary, international law. Writing for the
majority, Judge Parker held:

[This] history illustrates that fi‘om its origins with the trial of Nazi

doctors at Nuremberg through its evolution in international

conventions, agreements declarations and domestic laws, the norm

prohibiting nonconsensual medical experimentation on human

subjects has become firmly embedded and secured universal
acceptance in the community of nations

Abdullahz', 562 F.3d 163, 183 (2009).

As shown, there is an abundance of federal authority which makes clear the federal
government has a strong interest in regulating research involving human subjects, both because
the matter invokes “universal concern” and to ensure consistency in regulation and enforcement
No matter how many times she amends and recasts it, Ms. Mack’s Informed Consent claims
arise under federal law because they are related to the testing of human subjects, conferring
jurisdiction with this Court.

IV. CONCLUSION

For the reasons set forth in co-defendants’ Memorandum of Law in Opposition to
Remand and herein, Defendant Ventracor, Inc., opposes Plaintiffs Motion to Remand and
respectfully requests that the Court deny Plaintiff’s Motion and retain this matter arising under
federal law pursuant to 28 U.S.C. 1331.

Respectfully submitted,

CoZEN O’CoNNoR

By: /S/ TERRY M. HENRY

Terry M. Henry
Lauren A. Tulli
1900 Market Street
Philadelphia, PA 191 03
(215) 665-4653 / (215) 665-6907
Date: July 9, 2010 Attorneys for Defendant, Ventracor, Inc.

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CERTIFICATE OF SERVICE
Terry M. Henry, Esquire, hereby certifies that on this date he caused to be served a
true and correct copy of Defendant Ventracor, Inc.’s Response to Plaintiff"s Motion for

Remand by U.S. First~Class Mail upon counsel listed below:

Shanin Specter, Esq. '
Mark A. Hoff`man, Esq.
Charles L. Becker, Esq.

Kline & Specter
The Nineteenth Floor

1525 Locust Street

Philadelphia, PA 19102

J ames A. Young, Esq.
Richard S. Margulies, Esq.
Christie Pabarue Mortensen & Young
1880 John F. Kennedy Boulevard
10th Floor
Philadelphia, PA 19103

By: /S/ TERRY M. HENRY
Terry M. Henry
Lauren A. Tulli
1900 Market Street
Philadelphia, PA l 9103
(215) 665-4653 / (215) 665-6907
DATED: July 9, 2010 Attorneys for Defendant, Ventracor, Inc.

 

 

 

